      Case 1:22-cv-01134-BKS-DJS                   Document 112   Filed 01/03/25   Page 1 of 1

                                  Paloma A. Capanna
                                 Attorney & Policy Analyst
106-B Professional Park Drive                                                        P. O. Box 495
Beaufort, North Carolina 28516                                       Keene Valley, New York 12943
(252) 515-6737
(315) 584-2929 mobile
*Admitted to practice in NY, N.D.N.Y., W.D.N.Y.,
2d & 4th Cir., U.S. Supreme Court


January 3, 2025


Hon. Brenda K. Sannes
United States District Court
Northern District of New York
100 South Clinton Street                                   via CM/ECF
Syracuse, New York 13261


Re:      Nadine Gazzola, et al. v. Gov. Kathleen Hochul, et al.
         Case No. 1:22-cv-1134 (BKS/DJS)


To the Hon. Brenda K. Sannes:

    This correspondence is written with approval of Counsel to request the following be
“so ordered,” as follows:

         1. A change formally be made to “Steven G. James” as the Superintendent of the
            NYS Police in accordance with Fed. R. Civ. P. 25(d); and,

         2. A correction be made to the spelling of the first name of the NY Attorney General in
            the caption, including of the Complaint (doc. 1). There is a one letter error. The
            correct spelling is “Letitia.” (The error was a misspelling as “Leticia.”)

      This would change the caption, going forward. Thank you for your assistance.

Respectfully submitted,
Paloma A. Capanna
Paloma A. Capanna

c.: Aimee Cowan, Esq., NYS Office of the Attorney General (via CM/ECF)


SO ORDERED:


_________________________
Hon. Brenda K. Sannes
